 Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 1 of 43

                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK



MAYAGÜEZ S.A.,
                                     Case No. 16 Civ. 06788 (PGG) (JLC)
                     Plaintiff,
                                     ORAL ARGUMENT REQUESTED
    - against -

CITIGROUP, INC.,
CITIBANK N.A.,

                     Defendants.




MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION FOR
                SUMMARY JUDGMENT
         Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 2 of 43


                                                      TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................................... iii
PRELIMINARY STATEMENT ................................................................................................. 1
FACTUAL BACKGROUND ..................................................................................................... 2
         A.        Mayagüez’s Experience with Currency Hedging........................................................ 2
         B.        Governing Framework Agreements ............................................................................ 3
         C.        Mayagüez’s Hedging Policies and Procedures ........................................................... 4
         D.        Presentations Prior to the First Currency Trade .......................................................... 5
         E.        Mayagüez and Citibank Colombia Enter Into the First Currency Trade .................... 6
         F.        Mayagüez and Citibank Colombia Enter Into the Second Currency Trade ................ 7
         G.        The USD Unexpectedly And Dramatically Appreciates Against The COP ............... 8
         H.        Mayagüez and Citibank Colombia Amend The Second Currency Trade ................... 9
         I.        Mayagüez and Citibank Enter The Third Currency Trade .......................................... 9
         J.        Mayagüez Commences Litigation ............................................................................. 11
APPLICABLE LEGAL STANDARDS.................................................................................... 11
   I.         SUMMARY JUDGMENT STANDARD ............................................................. 11
   II.        REQUIRED ELEMENTS OF MAYAGÜEZ’S COLOMBIAN LAW CLAIMS 12
   III. REQUIRED ELEMENTS OF MAYAGÜEZ’S NEW YORK LAW CLAIMS .. 15
ARGUMENT ............................................................................................................................ 16
   I. MAYAGÜEZ WAS NOT DECEIVED, MISLED OR MISINFORMED AND
   DEFENDANTS DID NOT ACT WITH AN INTENT TO CAUSE HARM, IN BAD
   FAITH, OR WITH “FAULT” OR “NEGLIGENCE” .................................................. 16
         A. The Record Shows No Misstatements Or Misleading Omissions By Defendants –
         Much Less Made With An Intent To Cause Harm, In Bad Faith, Or With “Fault” or
         Negligence ......................................................................................................................... 18
              1. There Is No Evidence Of A Misstatement Of Fact Concerning The Currency
              Trades ............................................................................................................................ 18
              2. There is No Evidence That Defendants Omitted Material Information – Or
              Information Of Any Kind – Concerning The Currency Trades .................................... 20
         B. Mayagüez Cannot Show “Legitimate Ignorance” Regarding The Risks Or Issues Of
         Which It Complains Or Justifiable Reliance On Alleged Statements By Defendants ...... 22
              1.      Mayagüez Had Extensive Experience with Non-Plain Vanilla Hedges ............... 23
              2. Mayagüez Was Fully Aware Of The Amount Hedged By The Second And Third
              Currency Trades And That Its Ethanol Sales Were Taken Into Account In Connection
              With Those Trades ........................................................................................................ 24
              3. Unbeknownst to Defendants, Mayagüez Failed To Self-Inform As Required By
              Colombian Law ............................................................................................................. 26
              4.      Mayagüez Expressly Represented It Was Not Relying on Citibank or Citibank

                                                                          i
        Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 3 of 43


            Colombia ....................................................................................................................... 27
   II. MAYAGÜEZ DOES NOT HAVE A VIABLE PROMISSORY ESTOPPEL OR
   UNJUST ENRICHMENT CLAIM ............................................................................... 29
       A.      Defendants Did Not Make Any False or Unfulfilled Promises To Mayagüez ......... 29
       B.      Mayagüez Cannot Show Unjust Enrichment ............................................................ 30
   III. THERE IS NO EVIDENCE THAT WOULD ESTABLISH LIABILITY AS TO
   CITIGROUP, INC. FOR ANY OF MAYAGÜEZ’S CLAIMS ................................... 30
   IV. MAYAGÜEZ CANNOT SHOW THAT DEFENDANTS CAUSED RECOVERABLE
   DAMAGES ................................................................................................................... 32
       A.      Defendants Did Not Cause Mayagüez’s Purported Losses ....................................... 32
       B. Even If Mayagüez Could Prove That Defendants Caused Its Losses, Mayagüez
       Would Only Be Entitled To Actual Losses As To Which It Offers No Proof .................. 34
CONCLUSION ......................................................................................................................... 35




                                                                      ii
        Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 4 of 43


                                                TABLE OF AUTHORITIES



Cases                                                                                                                                 Page

Aaron Ferer and Sons Ltd. v. Chase Manhattan Bank, Nat’l Ass’n, 731 F.2d
   112 (2d. Cir. 1984) .............................................................................................................. 26

Abdelhamid v. Altria Group, Inc., 515 F. Supp. 2d 384 (S.D.N.Y. July 27,
   2007).................................................................................................................................... 13

Anschutz Corp. v. Merrill Lynch & Co., 690 F.3d 98 (2d Cir. 2012) ....................................... 15

Bader v. Wells Fargo Home Mortg. Inc., 773 F. Supp. 2d 397 (S.D.N.Y. 2011) ..................... 29

Baena v. Woori Bank, 515 F. Supp. 2d 414 (S.D.N.Y. 2007) ................................................... 13

Basis PAC-Rim Opportunity Fund (Master) v. TCW Asset Mgmt. Co., 149
   A.D.3d 146 (N.Y. App. Div. 2017) ..................................................................................... 33

Bay v. Times Mirror Magazines, Inc., 936 F.2d 112 (2d Cir. 1991) ......................................... 12

Capmark Fin. Grp. Inc. v. Goldman Sachs Credit Partners L.P., 491 B.R. 335
   (S.D.N.Y. 2013) .................................................................................................................. 31

CDO Plus Master Fund v. Wachovia Bank, N.A., No. 07 Civ. 11078, 2009 WL
  2033048 (S.D.N.Y. July 13, 2009) ...................................................................................... 30

Cox v. NAP Constr. Co., 891 N.E.2d 271 (N.Y. 2008) ............................................................. 30

Creazioni Artistiche Musicali, S.R.L. v. Carlin America, Inc., No. 14-CV-9270
   (RJS), 2016 WL 7507757 (S.D.N.Y. Dec. 30, 2016), aff’d, 747 F. App’x 3
   (2d Cir. 2018) ...................................................................................................................... 13

Cyberchron Corp. v. Calldata Sys. Dev., Inc., 831 F. Supp. 94 (E.D.N.Y.
   1993), aff’d in relevant part, 47 F.3d 39 (2d Cir. 1995) ..................................................... 29

In re Digital Music Antitrust Litig., 812 F. Supp. 2d 390 (S.D.N.Y. 2011) ............................. 32

Dodona I LLC v. Goldman Sachs & Co., 132 F. Supp. 3d 505 (S.D.N.Y. 2015) ............... 23, 30

Dollman v. Mast Indust., 731 F. Supp. 2d 328 (S.D.N.Y. 2010) .............................................. 31

Dornberger v. Metro. Life Ins. Co., 961 F. Supp. 506 (S.D.N.Y. 1997) .................................. 35

End Line Inv’rs, Ltd. v. Wells Fargo Bank, N.A., No. 16 Civ. 7009 (Gardephe,
   J.), 2018 WL 3231649 (S.D.N.Y. Feb. 27, 2018) ............................................................... 16

Fantazia Int’l Corp. v. CPL Furs New York, Inc., 67 A.D.3d 511 (N.Y. App.
   Div. 2009)............................................................................................................................ 32

                                                                     iii
        Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 5 of 43


Ferguson v. Hannover Ruckversicherungs-Akteiengesellschaft, No. 04 CIV.
   9254 (PKL), 2007 WL 2493692 (S.D.N.Y. Aug. 21, 2007) ............................................... 12

Fernandez v. City of New York, No. 17 CIV. 789 (Gardephe, J.), 2020 WL
   2086191 (S.D.N.Y. Apr. 30, 2020) ..................................................................................... 12

Foxley v. Sotheby’s Inc., 893 F. Supp. 1224 (S.D.N.Y. 1995).................................................. 29

Gallo v. Prudential Residential Servs., Ltd. P’ship, 22 F.3d 1219 (2d Cir. 1994) ................... 12

Ginsburg Dev. Comps. v. Carbone, 134 A.D.3d 890 (N.Y. App. Div. 2015) .......................... 15

Grumman Allied Indus. Inc. v. Rohr Indus., Inc., 748 F.2d 729 (2d Cir. 1984) ....................... 28

HFGL Ltd. v. Alex Lyon & Son Sales Managers & Auctioneers, Inc., 264
  F.R.D. 146 (D.N.J. 2009) .................................................................................................... 13

Hicks v. Baines, 593 F.3d 159 (2d Cir. 2010) ........................................................................... 12

Hydro Inv’rs, Inc. v. Trafalgar Power Inc., 227 F.3d 8 (2d Cir. 2000) .............................. 16, 20

Jana L. v. W 129th St. Realty Corp., 22 A.D.3d 274 (N.Y. App. Div. 2005) ........................... 23

Kaplan v. Reed Smith LLP, 919 F.3d 154 (2d Cir. 2019) ......................................................... 30

Kirschner as Tr. of Millennium Lender Claim Tr. v. JPMorgan Chase Bank,
   N.A., No. 17 CIV. 6334 (Gardephe, J. ), 2020 WL 2614765 (S.D.N.Y. May
   22, 2020)........................................................................................................................ 16, 28

Kumiva Grp., LLC v. Garda USA Inc., 146 A.D.3d 504 (N.Y. App. Div. 2017) ..................... 34

Laub v. Faessel, 297 A.D.2d 28 (N.Y. App. Div. 2002)........................................................... 32

Leist v. Simplot, 638 F.2d 283 (2d Cir. 1980) ........................................................................... 34

Lentell v. Merrill Lynch & Co., 396 F.3d 161 (2d Cir. 2005) ................................................... 33

Loreley Fin. (Jersey) No. 4 Ltd. v. UBS Ltd., 42 Misc. 3d 858 (Sup. Ct. 2013),
   modified on other grounds, 123 A.D.3d 413 (N.Y. App. Div. 2014) ................................. 34

Lykins v. IMPCO Techs., Inc., No. 15 CIV. 2102 (Gardephe, J.), 2018 WL
   3231542 (S.D.N.Y. Mar. 6, 2018) ....................................................................................... 11

Martin Hilti Family Tr. v. Knoedler Gallery, LLC, 137 F. Supp. 3d 430
  (Gardephe, J.) (S.D.N.Y. 2015)..................................................................................... 30, 31

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184 (2d Cir. 2007) ........................................ 11

Mendez v. JFK Medical Ctr. Ltd. P’Ship, No. 17-80866-CIV, 2018 WL
  5045210 (S.D. Fla. Sept. 4, 2018) ....................................................................................... 31


                                                                    iv
        Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 6 of 43


Merrill Lynch & Co. Inc. v. Allegheny Energy, Inc., 500 F.3d 171 (2d Cir.
   2007).................................................................................................................................... 15

Miller v. Citicorp, No. 95 Civ. 9728, 1997 WL 96569 (S.D.N.Y. Mar. 4, 1997) ..................... 31

Matter of Morris v. New York State Dep’t of Taxation and Fin., 82 N.Y.2d 135..................... 31

Negrete v. Citibank, N.A., 187 F. Supp. 3d 454 (S.D.N.Y. 2016), aff’d by 759
   F. App’x 42 (2d Cir. 2019) (Gardephe, J) ..................................................................... 28, 34

Payday Advance Plus, Inc. v. Findwhat.com, Inc., 478 F. Supp. 2d 496
   (S.D.N.Y. 2007) .................................................................................................................. 30

Pegasus Aviation IV, Inc. v. Aerolineas Austral Chile S.A., No. 08 CIV. 11371,
   2012 WL 967301 (NRB) (S.D.N.Y. Mar. 12, 2012)..................................................... 11, 13

Progressive Cas. Ins. Co. v. C.A. Reaseguradora Nacional de Venezuela, 991
   F.2d 42 (2d Cir. 1993) ......................................................................................................... 15

Prudential Ins. Co. of Am. v. Dewey, Ballantine, Bushby, Palmer & Wood, 80
   N.Y.2d 377 (1992) .............................................................................................................. 16

Remington Rand Corp. v. Amsterdam-Rotterdam Bank, 68 F.3d 1478 (2d Cir.
   1995).................................................................................................................................... 15

Republic Nat’l Bank v. Hales, 75 F. Supp. 2d 300 (S.D.N.Y. 1999) ........................................ 27

Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38 (2d Cir. 1978) ............................................ 35

Ryder Energy Distribution Corp. v. Merrill Lynch Commodities, Inc., 684 F.
   Supp. 27 (S.D.N.Y. 1988) ................................................................................................... 32

Sanchez v. City of New York, No. 18 CIV 1259 (Gardephe, J.), 2020 WL
   2094097 (S.D.N.Y. May 1, 2020) ....................................................................................... 12

Scott v. Harris, 127 S.Ct. 1769 (2007) ...................................................................................... 12

Sec. & Exch. Comm’n v. Aly, No. 16 CIV. 3853 (Gardephe, J.), 2018 WL
   1581986 (S.D.N.Y. Mar. 27, 2018) ..................................................................................... 12

Sheth v. New York Life Ins. Co., 709 N.Y.S.2d 74 (App. Div. 2000) ....................................... 20

Silberman v. Innovation Luggage, Inc., No. 01 CIV. 7109 (GEL), 2003 WL
    1787123 (S.D.N.Y. Apr. 3, 2003) ....................................................................................... 12

Steele v. Delverde S.R.L., 662 N.Y.S.2d 30 (App. Div. 1997) .................................................. 29

Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, 966 N.Y.S.2d 349
    (Sup. Ct. 2012) .................................................................................................................... 33



                                                                      v
        Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 7 of 43


U.S. Commodity Futures Trading Comm’n v. eFloorTrade, LLC, No. 16 CIV.
   7544 (Gardephe, J.), 2018 WL 10625588 (S.D.N.Y. Sept. 21, 2018) ................................ 11

U.S. v. Bestfoods, 524 U.S. 51 (1998) ....................................................................................... 31

UniCredito Italiano SPA v. JPMorgan Chase Bank, 288 F. Supp. 2d 485
   (S.D.N.Y. 2003) .................................................................................................................. 15

Statutes

Fed. R. Civ. P. 44.1 ............................................................................................................. 12, 13

Fed. R. Civ. P. 56(a) .................................................................................................................. 11

Fed. R. Civ. P. 56(c) .................................................................................................................. 12

Other Authorities

Colombian Civil Code, Article 2341 ................................................................................. passim

Colombian Commercial Code, Article 863 ........................................................................ passim




                                                                    vi
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 8 of 43


       Defendants Citibank, N.A. (Citibank) and Citigroup, Inc. (together, “Defendants”)

respectfully submit this memorandum of law in support of their motion for summary judgment

on all claims asserted against them by plaintiff Mayagüez, S.A. (“Mayagüez”).

                               PRELIMINARY STATEMENT

       Mayagüez is a large sugar and ethanol producer based in Colombia. Because Mayagüez

derives a significant portion of its revenue from exports and other sales pegged to the U.S.

Dollar (“USD”), it regularly enters into currency hedging transactions with banks to attempt to

limit its exposure to fluctuations in the USD/Colombian Peso (“COP”) exchange rate. This

litigation relates exclusively to three such transactions between Mayagüez and defendant

Citibank, N.A. (“Citibank”) or non-party Citibank Colombia S.A. (“Citibank Colombia”) in

2013, 2014, and 2015 (the “Currency Trades”).

       The crux of Mayagüez’s case is that Defendants allegedly misled it into entering the

Currency Trades, allegedly taking advantage of Mayagüez’s supposed inexperience with

transactions of this nature. After the production of hundreds of thousands of pages of documents

and the completion of more than twenty fact and expert depositions, it is clear that Mayagüez

was neither deceived, inexperienced, nor injured. In particular, it is now clear that:

       Mayagüez had previously entered into dozens of currency hedging transactions,

including an earlier transaction that had the same type of structure as the Currency Trades did,

capping the bank’s potential payments but not the company’s.

       Every aspect of the Currency Trades was expressly and accurately disclosed to

Mayagüez in writing.

       Mayagüez cannot point to a single document suggesting it was misled.

       Even after extensive deposition preparation, Mayagüez’s own witnesses could not

explain how or by what means Mayagüez was deceived.

       Mayagüez represented in writing repeatedly that it was not relying on Defendants for

                                                1
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 9 of 43


information they provided in deciding to enter into the Currency Trades.

       A dramatic and wholly unexpected spike in the USD/COP exchange rate – and not

anything Defendants did – actually caused Mayagüez’s losses, which Mayagüez’s own

executives effectively admitted in testimony.

       In short, Mayagüez’s case has fallen apart. Whether Colombian or New York law

governs, there are no genuine issues of material fact to be tried. There was no misrepresentation

of any kind, no reasonable reliance (under New York law) or requisite diligence (under

Colombian law) on Mayagüez’s part, and no legally cognizable damages or injury. For these

reasons, and others explained below, the Court should grant summary judgment in Defendants’

favor and dismiss this action.

                                 FACTUAL BACKGROUND1

       Mayagüez is a large multinational sugar and ethanol producer, with sales in Colombia,

the United States, and other countries.2        It derives significant revenues from exports

denominated in USD, as well as domestic sales indexed to the USD,3 but its costs are primarily

in COP.4 For this reason, if the USD/COP rate increases, each dollar of Mayagüez’s USD

revenue covers more of its COP expenses. If the USD/COP rate decreases, the opposite is true.

Accordingly, Mayagüez regularly contracts to hedge against – i.e., limit its exposure to –

depreciation of the USD against the COP.5

           A. Mayagüez’s Experience with Currency Hedging

         Between 2008 and 2013, Mayagüez executed as many as forty transactions per year




1
  Defendants respectfully refer the Court to Defendants’ Statement of Undisputed Material
Facts (“SUMF”) and the Appendix containing Defendant’s Exhibits (“DEX”) thereto. This
summary of undisputed facts is provided for the Court’s convenience.
2
  See SUMF ¶ 1; see also First Amended Complaint (Dkt. No. 15) (“FAC”) ¶ 12.
3
  See SUMF ¶¶ 1, 2, 22, 23.
4
  See SUMF ¶¶ 6.
5
  See id.; SUMF ¶¶ 6, 22, 23.
                                               2
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 10 of 43


with various banks in an attempt to hedge the USD/COP exchange rate.6 This included “plain

vanilla” hedges – i.e., where Mayagüez and a bank agreed to exchange USD for COP at a

specified price (the “strike price”) on specified future dates – and, as Mayagüez referred to them,

“non-plain vanilla hedges.”7 The amount that Mayagüez might have to pay to its counterparty

was calculated in the same basic way in plain vanilla hedges and the Currency Trades: (a) the

amount of the hedge (the “notional”) multiplied by (b) the difference between the agreed strike

price and the market exchange rate on the payment date.8

       In 2008, Mayagüez entered into a USD/COP hedge with Citibank similar to the

Currency Trades at issue here (the “2008 Transaction”).9 There, Mayagüez had the right to sell

to Citibank, and Citibank had the right to buy from Mayagüez, USD every month for six months

at a strike price of 1,885 COP/USD.10 As explained below, there was a fully-disclosed and

mutually agreed-upon cap on the amount of payments that Mayagüez could receive, and if the

cap was reached, the transaction would terminate, but there was no such cap for payments to

Citibank.   Mayagüez has never claimed to have misunderstood the terms of the 2008

Transaction, despite its striking similarity to the Currency Trades.

            B. Governing Framework Agreements

         In 2009, in anticipation of entering into additional hedges, Mayagüez and Citibank

entered into an ISDA Master Agreement and related documentation governing currency

hedging transactions between them, including the Currency Trades (the “ISDA”).11 The ISDA

clearly confirmed that each party had independently evaluated and elected to enter into the

Currency Trades and that neither was relying on the other for advice:

       (1) No Reliance. [Mayagüez] is acting for its own account, and it has made its own

6
  See SUMF ¶ 33-35.
7
  See SUMF ¶¶ 24, 34, 40-42.
8
  See SUMF ¶ 26.
9
  See SUMF ¶¶ 36-39.
10
   See SUMF ¶¶ 36-39.
11
   See SUMF ¶ 12.
                                                3
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 11 of 43


        independent decision to enter into that Transaction and as to whether that Transaction is
        appropriate or proper for it based upon its own judgment and upon advice from such
        advisors as it has deemed necessary. It is not relying on any communication (written or
        oral) of [Citibank] as investment advice or as a recommendation to enter into that
        Transaction; it being understood that information and explanations related to the terms
        and conditions of a Transaction shall not be considered investment advice or a
        recommendation to enter into that Transaction. It has not received from [Citibank] any
        assurance or guarantee as to the expected results of that Transaction.

        (2) Evaluation and Understanding. [Mayagüez ] is capable of evaluating and
        understanding (on its own behalf or through independent professional advice), and
        understands and accepts, the terms, conditions and risks of that Transaction. It is also
        capable of assuming, and assume, the financial and other risks of that Transaction.

        (3) Status of Parties. [Citibank] is not acting as a fiduciary for or an advisor to it in
        respect of that Transaction.12

The ISDA provided that these understandings would govern all hedges between the parties, and

that Mayagüez would receive trade confirmations for each transaction confirming and

evidencing the specific financial terms.13

         In 2011, Mayagüez and Citibank Colombia entered into a similar master agreement

(the “Contrato Marco Local Para Instrumentos Financieros Derivados”) (the “Colombian

ISDA”).14    As in the ISDA, Mayagüez represented that it understood the             trades and

comprehensively disclaimed reliance on Citibank Colombia:

     [Mayagüez] knows and understands the legal nature, characteristics and risks inherent
     to the Transactions, is acting at its own initiative and account and has reviewed at its
     own behest, or through its own legal or financial advisors, the implications of signing
     the Documents of the Framework Agreements and of entering into and executing each
     and every Transaction between the Parties under the Framework Agreement.15

            C. Mayagüez’s Hedging Policies and Procedures

        In 2011 and 2012, unbeknownst to Defendants and Citibank Colombia, Mayagüez’s

auditor PricewaterhouseCoopers (“PwC”) identified “significant deficienc[ies]” in Mayagüez’s

hedging policies, which PwC concluded, “prevent[ed] the Company from making objective


12
   See SUMF ¶¶ 15-16.
13
   See SUMF ¶ 13, including DEX 15 at 8302-31.
14
   See SUMF ¶ 20.
15
   See SUMF ¶ 20, including; DEX 16 at 9832-79.
                                           4
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 12 of 43


decisions to reduce its exposure to adverse market movements and protect the Company’s

assets.”16 PwC recommended that Mayagüez adopt policies and procedures that aligned with

the strategies approved by and risk appetite of Mayagüez’s board.17 As of the termination of

the Currency Trades, Mayagüez still had not implemented PwC’s recommendations.18

           D. Presentations Prior to the First Currency Trade

       In 2012 and 2013, Citibank Colombia and Mayagüez discussed potential hedging

transactions.19 One possibility discussed was a “limited compensation” transaction, similar to

the 2008 Transaction, where Mayagüez would agree to a cap on its compensation in exchange

for a more favorable strike price.20 In 2012, Citibank Colombia provided a presentation to

Mayagüez that explicitly explained that the limited compensation provision meant that if the

“maximum compensation” cap was reached, the transaction would terminate early. 21 The

presentation also stated, accurately, that in exchange for limiting its compensation, Mayagüez

would be able to trade at “better” rates (i.e., a better strike price) than in a non-capped

transaction.22 In October 2013, Citibank Colombia made a similar presentation, which stated:

     If the market rate ends up being above the established strike rate, the customer will
     have to compensate the bank in accordance with the exchange rate difference presented
     between the structure’s strike rate and the market exchange rate.23

Citibank Colombia sent an updated presentation in October 2013 setting forth exactly what

would happen if the COP/USD rate increased above the strike price (the rate in the hedge) –

i.e., Mayagüez would pay Citibank and the amount would grow as the USD appreciated24:




16
   See SUMF ¶¶ 222.
17
   See SUMF ¶¶ 222.
18
   See DEX 8 at 3138, 3140; see also SUMF ¶¶ 58.
19
   See SUMF ¶¶ 61-87.
20
   See SUMF ¶¶ 61-64, 68.
21
   SUMF ¶ 63; DEX 38 at 6676.
22
   SUMF ¶ 64; DEX 38 at 6674.
23
   SUMF ¶ 69; DEX 20 at 9178.
24
   SUMF ¶ 70; DEX 45 at 4347.
                                           5
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 13 of 43




       All these presentations contained similar disclaimers as described above, including that

Citibank Colombia was not serving as Mayagüez’s advisor and that Mayagüez must conduct its

own independent analysis.25 The presentations and communications in 2012 and 2013 were

primarily between employees of non-party Citibank Colombia and Mayagüez’s Treasurer

(Hector Fabio Alarcon) and then-CFO (Ludwig Chvatal), who discussed the Currency Trades

with Mayagüez’s CEO (Mauricio Iragorri).26

           E. Mayagüez and Citibank Colombia Enter Into the First Currency Trade

         Mayagüez executed the first Currency Trade on November 6, 2013 (the “First

Currency Trade”).27 The terms of this trade were documented in a trade confirmation that

Mayagüez signed, and were also summarized in communications between Citibank Colombia

and Mayagüez.28 The parties agreed to sell (Mayagüez) or buy (Citibank) $2 million per month,

for twenty-two months, at a strike price of 2,020 COP/USD, with a maximum compensation

amount for Mayagüez of 900 million COP. Citibank Colombia sent Mayagüez monthly

valuation updates for the transaction.29



25
   DEX 20 at 9181; DEX 38 at 6682.
26
   SUMF ¶ 61, 67, 72.
27
   SUMF ¶ 88; DEX 50.
28
   See SUMF ¶¶ 89-92; DEX 07 at Nos. 6, 20.
29
   SUMF ¶ 111.
                                              6
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 14 of 43


         When the COP/USD rate rose above the 2,020 strike price, the parties executed the

first amendment to the First Currency Trade in February 2014, which increased the term of the

trade to January 2017 in exchange for increasing the strike price to 2,075.30 In connection with

that amendment, Mayagüez executed a letter acknowledging that it was seeking to “take

advantage of the current market window”31 and representing that it was “not relying on the

advice of Citibank for legal, tax, accounting or investment matter . . . and that it will determine,

without reliance upon Citibank, the economic risks and merits, [. . .] of the Transaction and that

it will be capable of assuming such risk.”32

         Subsequently, as the USD depreciated, Mayagüez received payments under this trade.

As Mayagüez began approaching the agreed-upon maximum compensation amount, the parties

amended the trade in April 2014 to increase this amount while decreasing the strike price

slightly. Mayagüez continued receiving payments until Citibank Colombia paid Mayagüez its

maximum compensation amount in July 2014 and the trade terminated early with Mayagüez

earning a handsome payment.33

           F. Mayagüez and Citibank Colombia Enter Into the Second Currency Trade

         Mayagüez and Citibank Colombia executed the second Currency Trade in July 2014

(the “Second Currency Trade”).34 Mayagüez then asked for and received various proposals

from Citibank Colombia.35 Based on the preference of its CEO, Mayagüez selected a structure

with leverage (i.e., a notional amount that was larger if Mayagüez had to make payments to

Citibank than if Citibank had to make payments to Mayagüez) that allowed Mayagüez to benefit

from an even higher strike price.36 Under the Second Currency Trade, the parties agreed to sell


30
   SUMF ¶ 113.
31
   SUMF ¶¶ 119.
32
   SUMF ¶¶ 120.
33
   SUMF ¶ 127-29.
34
   SUMF ¶¶ 142-43.
35
   SUMF ¶ 130-40.
36
   SUMF ¶ 137-41; DEX 85 at 3549.
                                                 7
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 15 of 43


(Mayagüez) or buy (Citibank), from September 2014 to July 2017, $3 million a month if the

market rate (“spot” rate) was below the 2,090 COP/USD strike price, and $6 million a month if

the spot rate was above the strike price.37 The transaction had a maximum compensation
                                            38
amount for Mayagüez of 3 billion COP.            As Mayagüez understood, the larger notional

amounts for this trade took into account its USD exposure from to its ethanol sales39 – for which

the prices were based on a public formula set by the Colombian government that included the

USD/COP rate as an input.40 In the words of Mayagüez’s 30(b)(6) witness:

      Q. Mayagüez was aware of the indexation of local ethanol sales in Colombia to U.S.
      dollars . . . during the period of time of 2012 to 2016?
      A. Yes. In fact, it was always known that there is an indexation from the revenue
      from dollars to the price – to the international price that’s to the exchange rate.41

           G. The USD Unexpectedly And Dramatically Appreciates Against The COP

         When Mayagüez executed the Second Currency Trade, the COP/USD rate was below

2,000, but it rose sharply to approximately 3,500 by March 2016, more than 50% higher than

the strike price for the Second Currency Trade and the median forecasts at the time42:




37
   SUMF ¶¶ 142-43.
38
   SUMF ¶¶ 142-43.
39
   See SUMF ¶¶ 132-35, 146.
40
   DEX 17 at ¶ 88 (formula from Colombian government determines the price of ethanol in
which “[t]he COP/USD exchange rate appears as one of the inputs”).
41
   DEX 4 103:15-104:7; see also id. at 45:11-18; SUMF ¶¶ 49, 134.
42
   SUMF ¶¶ 149, 151; DEX 19 (“Stulz Rpt.”) at Ex. 5A.
                                              8
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 16 of 43


This dramatic and perhaps unprecedented spike in the exchange rate triggered Mayagüez’s

payment obligations in accordance with the fully and accurately disclosed terms of the Second

Currency Trade, and as had been explained could occur in presentations prior to the trade.43

           H. Mayagüez and Citibank Colombia Amend The Second Currency Trade

       In November 2014, Mayagüez discussed internally that a decline in the price of oil had

caused a depreciation of the COP – which had increased Mayagüez’s payment obligations under

the Second Currency Trade – and considered whether to attempt again to delay its payment

obligations by amending the strike price.44 In December 2014, with the approval of its Board

and full knowledge of the Second Currency Trade’s results, Mayagüez prepared to restructure

the trade and signed a letter acknowledging the over $30 million mark-to-market valuation

(“MTM”) of the trade (against Mayagüez) at that time. The letter requested that Citibank

restructure the trade “not only to continue hedging the forecasted exposure generated by our

sugar exports production and ethanol sales but also [to] take advantage of the current market

level.”45 This letter, approved by the Mayagüez CEO, again represented that Mayagüez was

“not relying on the advice of Citibank for legal tax, accounting or investment matters . . . and it

will make an independent analysis and decision” as to the trade.”46

           I. Mayagüez and Citibank Enter The Third Currency Trade

         As the USD continued appreciating,47 and after additional discussion with Citibank

Colombia,48 Mayagüez elected to terminate the Second Currency Trade and executed a third

Currency Trade with Citibank in January 2015 (the “Third Currency Trade”).49 Rather than

terminating the Second Currency Trade by “paying the positive substantial mark-to-market”


43
   SUMF ¶¶ 70, 82, 143.
44
   SUMF ¶¶ 152, 162.
45
   See SUMF ¶¶ 171, 174-75.
46
   See SUMF ¶ 176.
47
   See SUMF ¶¶ 151, 180.
48
   See SUMF ¶¶ 183-84.
49
   See SUMF ¶¶ 188-91.
                                                9
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 17 of 43


(approximately $35 million), which had grown due to the “strong devaluation” of the COP,

Mayagüez chose to “embed the current MTM into the strike price of the [Third Currency Trade],

receiving a lower strike price than current market levels” during one tranche. 50 Mayagüez

would “pay back” the amounts owed through a lower strike price without making substantial

cash payments. Mayagüez effectively decided to “double down” on its considered “market

view” that “right now there is a spike in the [COP/USD rate].”51

         The Third Currency Trade52 was thus structured to reflect Mayagüez’s belief that the

USD would start depreciating by the end of 2015. Under its first tranche, from January 2015 to

November 2015, Mayagüez would sell, or Citibank would buy $6 million a month at a strike

price of 2,600, with a maximum compensation amount of 2.1 billion COP. Under its second

tranche, Mayagüez would sell, or Citibank would buy $7.5 million a month at a strike price of

2,090 from December 2015 to July 2017, and at a strike price of 2,385 from August 2017 to

January 2018. The second tranche had a maximum compensation amount of 1.5 billion COP.53

Mayagüez contemporaneously executed another letter representing again that it was not relying

on Citibank and would independently analyze the advisability of the trade.54

         In the following months, contrary to Mayagüez’s expectations, the COP/USD

exchange rate continued to rise, up to over 3,000 in August 2015, further increasing the amount

Mayagüez owed.55 Although the parties discussed potential amendments,56 on December 7,

2015, Iragorri informed the Board that the MTM had increased to $67.7 million against




50
   See SUMF ¶ 186.
51
   See SUMF ¶¶ 181-83.
52
   See SUMF ¶¶ 181-83.
53
   See SUMF ¶¶ 103-05.
54
   See SUMF ¶ 186 (reflecting, among other things, the same representation that Mayagüez
would “determine, without reliance upon Citi, the economic risks and merits, [. . .] of the
Transaction and that it will be capable of assuming such risk”).
55
   SUMF ¶¶ 76; 205; 207; 238; See DEX 19 at Ex. 5A.
56
   See SUMF ¶¶ 198-202.
                                               10
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 18 of 43


Mayagüez due to “an unexpected devaluation.”57 Mayagüez terminated the Third Currency

Trade in March 2016.58

             J. Mayagüez Commences Litigation

           Mayagüez filed this action in New York Supreme Court in August 2016, and

Defendants removed the case to this Court. Mayagüez’s operative FAC asserts claims for:

alleged “willful” and “negligent” violations of Article 2341 of the Colombian Civil Code and

violations of Article 863 of the Colombian Commercial Code; in the alternative, New York

common law claims for fraudulent inducement, fraudulent concealment, negligent

misrepresentation, unjust enrichment, and promissory estoppel; the New York law claim for

unconscionability was dismissed in this Court’s March 28, 2018 Order (Dkt. No. 36). Fact and

expert discovery are both completed.

                           APPLICABLE LEGAL STANDARDS

     I.      SUMMARY JUDGMENT STANDARD

          Summary judgment is required where “there is no genuine dispute as to any material

fact” and the movant “is entitled to judgment as a matter of law.” U.S. Commodity Futures

Trading Comm’n v. eFloorTrade, LLC, No. 16 CIV. 7544 (Gardephe, J.), 2018 WL 10625588,

at *6 (S.D.N.Y. Sept. 21, 2018) (citing Fed. R. Civ. P. 56(a)). “A fact is material when it might

affect the outcome of the suit under governing law.” Pegasus Aviation IV, Inc. v. Aerolineas

Austral Chile S.A., No. 08 CIV. 11371, 2012 WL 967301, at *4,*6 (NRB) (S.D.N.Y. Mar. 12,

2012) (applying federal summary judgment standard to foreign law claims) (quoting McCarthy

v. Dun & Bradstreet Corp., 482 F.3d 184, 202 (2d Cir. 2007)). “‘When no rational jury could

find in favor of the nonmoving party because the evidence to support its case is so slight, there

is no genuine issue of material fact and a grant of summary judgment is proper.’” Lykins v.


57
   See SUMF ¶¶ 206-07. Citibank typically hedged its currency exposure on an aggregate
basis, such that, across currency hedges, it would have a neutral position. See SUMF ¶ 32.
58
   See SUMF ¶ 216.
                                               11
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 19 of 43


IMPCO Techs., Inc., No. 15 CIV. 2102 (Gardephe, J.), 2018 WL 3231542, at *7 (S.D.N.Y. Mar.

6, 2018) (quoting Gallo v. Prudential Residential Servs., Ltd. P’ship, 22 F.3d 1219, 1224 (2d

Cir. 1994)). “‘Rule 56.1 permits the moving party to point to an absence of evidence to support

an essential element of the non[-]moving party’s claim.’” Fernandez v. City of New York, No.

17 CIV. 789 (Gardephe, J.), 2020 WL 2086191, at *6 (S.D.N.Y. Apr. 30, 2020) (quoting Bay

v. Times Mirror Magazines, Inc., 936 F.2d 112, 116 (2d Cir. 1991)).

         At summary judgment, the Court draws factual inferences in favor of the non-movant,

but “only if there is a ‘genuine’ dispute as to those facts.” Scott v. Harris, 127 S.Ct. 1769, 1776

(2007) (citing Fed. R. Civ. P. 56(c)). “[A] party may not rely on mere speculation or conjecture

as to the true nature of the facts to overcome a motion for summary judgment. . . . [M]ere

conclusory allegations or denials . . . cannot by themselves create a genuine issue of material

fact where none would otherwise exist.” Sanchez v. City of New York, No. 18 CIV 1259

(Gardephe, J.), 2020 WL 2094097, at *4 (S.D.N.Y. May 1, 2020) (quoting Hicks v. Baines, 593

F.3d 159, 166 (2d Cir. 2010)). “[C]ontradictory testimony only establishes a ‘genuine’ issue

for trial if it leads to a different legal outcome.” Sec. & Exch. Comm’n v. Aly, No. 16 CIV. 3853

(Gardephe, J.), 2018 WL 1581986, at *9 (S.D.N.Y. Mar. 27, 2018).

         Solely for purposes of this motion (and reserving all rights), Defendants assume that

either Colombian or New York law governs because the outcome is the same either way –

summary judgment should be granted in favor of Defendants.

   II.      REQUIRED ELEMENTS OF MAYAGÜEZ’S COLOMBIAN LAW CLAIMS

         On summary judgment, courts are afforded “quite a bit of flexibility” when determining

issues of foreign law. Ferguson v. Hannover Ruckversicherungs-Akteiengesellschaft, No. 04

CIV. 9254 (PKL), 2007 WL 2493692, at *18 n.8 (S.D.N.Y. Aug. 21, 2007). A court may

consider “any relevant materials, including testimony.”        Fed. R. Civ. P. 44.1; see, e.g.,

Silberman v. Innovation Luggage, Inc., No. 01 CIV. 7109 (GEL), 2003 WL 1787123, at *12

                                                12
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 20 of 43


(S.D.N.Y. Apr. 3, 2003) (considering “the expert testimony, including the deposition testimony

of plaintiffs’ own expert,” which was entirely “contrary” to [plaintiff’s] argument).           In

considering materials that meet the standards set forth in Fed. R. Civ. P. 44.1, a court may “give

them whatever probative value the Court thinks they deserve.” HFGL Ltd. v. Alex Lyon & Son

Sales Managers & Auctioneers, Inc., 264 F.R.D. 146, 149 (D.N.J. 2009) (quoting 9A Charles

Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2444 (3d. ed. 1998)).

Further, a court is not bound by the unsupported factual assertions of an expert witness on

foreign law. See id. at 148-49. Courts in this district have dismissed cases based on their

assessment and application of non-U.S. law. See, e.g., Pegasus Aviation, 2012 WL 967301 at

*6-*9 (granting summary judgment to defendants based on Argentine law).59

        Under Article 2341 of the Colombian Civil Code and Article 863 of the Colombian

Commercial Code, the first element Mayagüez must prove is that Defendants (i) intentionally

engaged in conduct to cause Mayagüez harm (“dolo”), or engaged in conduct with “culpa”

(“fault,” or under Mayagüez’s expert’s translation, “negligence”) (“extra-contractual” claims

under Art. 2341),60 or (ii) did not act with “good faith” without “culpa” (“fault” or “negligence”)




59
   See also Creazioni Artistiche Musicali, S.R.L. v. Carlin America, Inc., No. 14-CV-9270
(RJS), 2016 WL 7507757, at *5-*9 (S.D.N.Y. Dec. 30, 2016), aff’d, 747 F. App’x 3 (2d Cir.
2018) (granting motion to dismiss under Italian law); Baena v. Woori Bank, 515 F. Supp. 2d
414, 425-26 (S.D.N.Y. 2007) (granting in part motion to dismiss under Korean law);
Abdelhamid v. Altria Group, Inc., 515 F. Supp. 2d 384, 397 (S.D.N.Y. July 27, 2007)
(granting motion to dismiss under Egyptian law).
60
   See, e.g., Supreme Court of Justice, Civil Cassation Chamber, August 3, 2004, Case No.
7447. Judge Rapporteur: Edgardo Villamil Portilla at 4, 26 (“Dunogué Decl. Ex. 2”) (cited in
Declaration of Diego Muñoz-Tamayo, October 30, 2019 (“Dunogué Decl. Ex. 7”) ¶¶ 116-18
and Declaration of Javier Tamayo Jaramillo, January 14, 2020 (“Dunogué Decl. Ex. 5”) ¶
102) (holding that, under Article 2341, the plaintiff has the responsibility to establish that
there was culpable conduct, the existence of damages, and the causal relationship between the
conduct and the damage).
                                               13
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 21 of 43


during pre-contractual dealings (“pre-contractual” claims under Art. 86361).62 There is no

dispute that “dolo” under Article 2341 means “engaging in an act or omission with the intent to

cause damage to another party.”63 According to Mayagüez’s purported Colombian law expert,

“culpa . . . denotes a conduct . . . with a lack of diligence, a lack of care, lack of prudence, and

improvidence,” and whether “there was culpa or not committed by the person who[m] the other

party seeks to attribute culpa to” must take into account all of the “acts and circumstances.”64

Generally, Colombian courts have found culpa only where violations of law can be clearly

established, such as a homicide, or for clear departures from basic standards of care and

diligence, such as when a bank violated banking law by failing to validate its customer’s identity

prior to opening an account.65

       Importantly, Colombian law recognizes that both sides to a transaction have a “self-

information duty,” which “refers to all diligent and responsible people’s duty to act proactively

as much as they can to inform themselves of a transaction they’re entering into.”66 To succeed

on a claim that a defendant failed adequately to inform its counterparty, a plaintiff must show

its “ignorance [was] legitimate so that they cannot ignore information that they should know or

would have known if they had behaved diligently.”67

       The second and third elements of an Article 2341 claim require Mayagüez to establish

(2) that it suffered recoverable losses, which were (3) caused by Defendants’ alleged conduct,


61
   Defendants reserve all rights in connection with the argument that Mayagüez is not entitled
under Colombian law to pursue the extra- and pre-contractual claims it asserts where the
parties entered into and were acting pursuant to executed agreements, but Defendants show
here that, even if Articles 2341 and 863 were potentially applicable here, Defendants are
entitled to summary judgment.
62
   See, e.g., Dunogué Decl. Ex. 7 ¶¶ 51-52.
63
   Dunogué Decl. Ex. 5. ¶41; accord Dunogué Decl. Ex. 7 ¶ 21.
64
   See, e.g., Deposition of Diego Muñoz Tamayo, Feb. 28, 2020 (“Dunogué Decl. Ex. 8”)
52:7-53:5 (describing the scope of “culpa” for civil liability).
65
   See, e.g., Dunogué Decl. Ex. 2 at 2, 18-19 (cited in Dunogué Decl. Ex. 7 ¶¶ 116-18).
66
   Dunogué Decl. Ex. 8, 99:7-15.
67
   Dunogué Decl. Ex. 8, 93:7-94:8.
                                               14
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 22 of 43


such that there is a “cause and effect relationship” that is not broken by an external cause,

including the plaintiff’s own actions.68       Colombian law limits Mayagüez’s recovery to

“emerging damages which means actual losses,” which cannot be hypothetical and must be

“duly proved in the process and the burden of proof is borne by the victim.” 69

     III.      REQUIRED ELEMENTS OF MAYAGÜEZ’S NEW YORK LAW CLAIMS

            Under New York law, fraud and negligent misrepresentation require a false

representation of material fact or the concealment of material information in order to induce

action.70 Mayagüez must also prove that it justifiably relied on the misrepresentation or

omission.71 To prove fraudulent concealment or negligent misrepresentation, Mayagüez must

also show that Defendants had a special or privity-like relationship with Mayagüez that would

have imposed a particular duty toward it.72

            Specifically, a plaintiff must show by “clear and convincing evidence” that (1) the

defendant made a material false representation, (2) with the intent to defraud the plaintiff, (3)

the plaintiff reasonably relied on the misrepresentation, and (4) the plaintiff suffered damage

because of that reliance. See Merrill Lynch & Co. Inc. v. Allegheny Energy, Inc., 500 F.3d 171,

181 (2d Cir. 2007). A plaintiff alleging fraudulent concealment must show “the additional

element that the defendant had a duty to disclose the material information.” UniCredito Italiano



68
   See, e.g., Dunogué Decl. Ex. 7 ¶¶ 51, 54, 64 (Colombian civil liability requires that the
conduct caused the damage); Dunogué Decl. Ex. 5 ¶¶ 54-55; Supreme Court of Justice. Civil
Chamber. Decision of May 14, 2019. Judge Rapporteur Margarita Cabello Blanco. Case
File:1697-2019 (“Dunogué Decl. Ex. 4”) (cited in Dunogué Decl. Ex. 5 ¶¶ 89, 92, 95)
(explaining that if defendant’s conduct was not the sole cause of damages, its liability may be
reduced or eliminated).
69
   See, e.g., Dunogué Decl. Ex. 7 ¶ 26; Dunogué Decl. Ex. 2 at 19-23 (cited in Dunogué Decl.
Ex. 7 ¶¶ 116-18).
70
   See generally Anschutz Corp. v. Merrill Lynch & Co., 690 F.3d 98, 114 (2d Cir. 2012);
Progressive Cas. Ins. Co. v. C.A. Reaseguradora Nacional de Venezuela, 991 F.2d 42, 47 (2d
Cir. 1993); Ginsburg Dev. Comps. v. Carbone, 134 A.D.3d 890, 894 (N.Y. App. Div. 2015).
71
   See Remington Rand Corp. v. Amsterdam-Rotterdam Bank, 68 F.3d 1478, 1484 (2d Cir.
1995).
72
   See, e.g., id. at 1483-84; Ginsburg Dev. Comps., 134 A.D.3d at 894.
                                               15
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 23 of 43


SPA v. JPMorgan Chase Bank, 288 F. Supp. 2d 485, 497 (S.D.N.Y. 2003).

          A plaintiff alleging negligent misrepresentation under New York law must show that:

“(1) the parties stood in some special relationship imposing a duty of care on the defendant to

render accurate information; (2) the defendant negligently provided incorrect information; and

(3) the plaintiff reasonably relied upon the information given.” Kirschner as Tr. of Millennium

Lender Claim Tr. v. JPMorgan Chase Bank, N.A., No. 17 CIV. 6334 (Gardephe, J. ), 2020 WL

2614765, at *12 (S.D.N.Y. May 22, 2020). “Accordingly, in order for ‘a party [to] recover in

tort for pecuniary loss sustained as a result of another’s negligent misrepresentations, there must

be a showing that there was either actual privity of contract between the parties or a relationship

so close as to approach that of privity.’” Id. (quoting Prudential Ins. Co. of Am. v. Dewey,

Ballantine, Bushby, Palmer & Wood, 80 N.Y.2d 377, 382 (1992)). Further, “the alleged

misrepresentation must be factual in nature and not promissory or relating to future events.”

End Line Inv’rs, Ltd. v. Wells Fargo Bank, N.A., No. 16 Civ. 7009 (Gardephe, J.), 2018 WL

3231649, at *7 (S.D.N.Y. Feb. 27, 2018) (quoting Hydro Inv'rs, Inc. v. Trafalgar Power Inc.,

227 F.3d 8, 20 (2d Cir. 2000).

                                         ARGUMENT

     I.      MAYAGÜEZ WAS NOT DECEIVED, MISLED OR MISINFORMED AND
             DEFENDANTS DID NOT ACT WITH AN INTENT TO CAUSE HARM, IN
             BAD FAITH, OR WITH “FAULT” OR “NEGLIGENCE”

          The gravamen of Mayagüez’s Colombian and New York law claims is that Defendants

allegedly “knowingly misrepresented the terms and risks” of the Currency Trades, which

Mayagüez was too “unsophisticated” to assess and entered into “only because it relied upon the

[alleged] false statements, omissions and promises of Defendants.”73 After the production of


73
  FAC ¶¶ 2, 7; see also, e.g., FAC ¶ 6 (alleging that Defendants “falsely stat[ed]” and
“fraudulently omi[tted]” characteristics and risks of the Currency Trades); ¶ 18 (alleging
“Defendants made fraudulent representations, concealed material information and made false
promises to Mayagüez”); ¶ 47 (alleging that Defendants “provided to Mayagüez information
and explanations about the terms and conditions of the Currency Trades that were false and/or
                                                16
       Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 24 of 43


hundreds of thousands of pages of documents and over twenty depositions, the record is crystal

clear that there is no genuine dispute on this fundamental issue. Mayagüez was neither misled

nor misinformed by Defendants, neither intentionally, nor in “bad faith,” nor negligently.

Defendants are thus entitled to summary judgment on all of Mayagüez’s claims. In particular,

there is no genuine dispute that:

   x    All the terms of the Currency Trades were accurately disclosed to Mayagüez in trade
        confirmations (the “Trade Confirmations”), which Mayagüez signed.74

   x    The trades were also summarized accurately in clear emails sent to Mayagüez.

   x    There were no factual misstatements or misleading omissions in the related
        presentations and communications concerning currency trades.

   x    To the extent Mayagüez claims that Defendants failed to disclose that Mayagüez could
        have what it hyperbolically calls “unlimited losses” – i.e., the Currency Trades did not
        “cap” Mayagüez’s potential payments – the presentations Mayagüez received indicated
        (i) that its payments, if the USD appreciated, would work similarly to that of a plain
        vanilla hedge (which Mayagüez was well aware meant that they would increase with no
        “cap” given its prior experience with other hedges) and (ii) that, by contrast, if the USD
        depreciated past a certain level, the payments to Mayagüez would be capped..

   x    There is no evidence of a false statement to Mayagüez, the withholding of material
        information, or that Mayagüez did not understand the Currency Trades. To the contrary,
        document after document show steps taken by Citibank and Citibank Colombia (even
        though they owed no such obligation) to confirm that the trades were accurately and
        sufficiently discussed with and approved by Mayagüez, including senior and
        knowledgeable executives.

   x    Contrary to their patently false allegations (see FAC at ¶¶ 36-43), Mayagüez had many
        years of experience with currency hedging and had repeatedly entered into non-“plain
        vanilla” currency transactions – including the 2008 Transaction.


misleading”); ¶ 49 (alleging that “[b]ased on the misrepresentations and material omissions of
[Citigroup, Citibank and Citibank Colombia] employees about the terms and risks, Mayagüez
entered into the Currency Trades”); ¶ 71 (alleging that “Mayagüez agreed to the Currency
Trades based on Citigroup’s false and misleading representations and material omissions”); ¶
96 (alleging that Mayagüez agreed to enter into the Currency Trades “[i]n reliance on the false
and misleading representations and material omissions”); ¶ 99 (same); ¶¶ 155-56, 196-97
(First and Fifth Causes of Action based on allegations that Defendants “made false and/or
misleading representations” and “fraudulently concealed material information”); ¶ 241 (Eighth
Cause of Action based on allegations that Defendants made “material representations and
omissions . . . [that] were fraudulent” and “fraudulently concealed material information”).
74
   All record cites for each of these material facts, as to which there is no genuine dispute, are
set forth below and, as specifically referenced below, in the SUMF.
                                                 17
         Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 25 of 43


     x    Mayagüez chose the Second Currency Trade, which hedged a larger amount for a longer
          duration than Mayagüez’s prior hedges, among proposed alternatives, with full
          disclosure that higher strike prices would increase the notional amounts and duration of
          the trades.

     x    Mayagüez also understood that the increased notional amounts of the Second Currency
          Trade reflected its USD exposure from its ethanol sales, the price of which was based
          on a public formula set by the Colombian government, and tied to the USD/COP rate.

     x    Mayagüez repeatedly agreed and represented in signed documents that it was not relying
          on Citibank (or Citibank Colombia), which Mayagüez expressly acknowledged were
          not its advisors, and that it had independently evaluated the Currency Trades – all
          statements that Mayagüez’s CEO testified were true.

     x    Contrary to its signed representations, and unbeknownst to Defendants at the time,
          Mayagüez did not have a policy or process in place to evaluate currency hedges and
          ignored PwC’s recommendations to remedy the “significant deficiencies” in its
          currency hedging controls.

             A. The Record Shows No Misstatements Or Misleading Omissions By
                Defendants – Much Less Made With An Intent To Cause Harm, In Bad
                Faith, Or With “Fault” or Negligence

                 1. There Is No Evidence Of A Misstatement Of Fact Concerning The
                    Currency Trades

          There is no genuine dispute that Defendants did not make any misstatements of fact

concerning the Currency Trades. Mayagüez indisputably received accurate and complete

documentation reflecting all of material terms and features of the Currency Trades. Mayagüez

does not dispute that it received, executed, and understood the ISDA Agreement and Colombian

ISDA, or that they govern the Currency Trades.75 There is also no dispute that, under these

agreements, Mayagüez received and signed Trade Confirmations reflecting all material terms

of the three Currency Trades and their amendments.76 The evidence is also clear that Mayagüez

received emails from non-party Citibank Colombia simply and accurately summarizing the

Currency Trades, such as77:



75
   SUMF ¶¶ 12-14, 19-21.
76
   SUMF ¶¶ 89, 93, 95, 98-100, 103-05, 108.
77
   DEX 57 at 0136 (email dated July 31, 2014 from Polania to Alarcon, cc Chvatal and others
reflecting above terms of the Second Currency Trade).
                                             18
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 26 of 43




        There is also no evidence of any misstatement of fact in any presentation and other

communication provided to Mayagüez prior to the First Currency Trade. 78 Indeed – and this

alone should be dispositive – no Mayagüez deponent could point to any actual misstatement of

fact by Defendants. Rather, Mayagüez deponents testified to the conclusion that there must

have been fraud because Mayagüez ended up owing large amounts. When pressed to identify

any misstatement, Mayagüez’s 30(b)(6) deponent contended simply that because the Currency

Trades had “dramatic” economic consequences for Mayagüez, there was ipso facto “deceit”:

        Q. Do you believe that anyone . . . from Citibank acted with bad faith? . . .
        A. The only thing I can say is that the transaction had dramatic consequences for
        Mayagüez. . .Therefore, I considered the product deceitful.79

Mayagüez’s Treasurer Alarcon testified similarly in his individual capacity:

        Q. Can you point me to any statement in the [October 2013 Presentation] that you
        now believe was incorrect?
        A. In light of the results obtained in 2016, we can say that this proposal is
        inadequate, is inappropriate, starting with the amounts that were handled. . . .
        Q. So are you saying that what was incorrect . . . is that the U.S. dollar COP
        exchange rate that it showed for 2015 was different than what the exchange rate
        ended up being in 2015? …




78
  See FAC ¶¶ 62-91; see also SUMF ¶¶ 228-235.
79
  See, e.g., DEX 4 (“Mayagüez 30(b)(6) Dep. Tr.”) 148:22-149:12; see also id. at 129:24-
131:17 (“Q. Did Citibank ever make any misrepresentations to Mayagüez in connection with
the currency trades at issue in this litigation? A. No, it’s that we always relied in Citibank. . . .
Q. Was anything that Citibank ever said to you or to Mr. Chvatal in connection with the
currency trades false? A. That they had told us? No.”); Id. at 160:2-7 (“Q: Is it your testimony
that Citibank made false statements to Mayagüez? A: Yes. That is correct, they presented a
product that didn’t turn out the results that they initially proposed.”); Id. at 128:23-129:5 (“Q:
Mr. Alarcon, in any of the communications, call, meetings, e-mails, any type of
communication that you had, that you and Mr. Chvatal had with Citi, did Citibank ever make
any misrepresentations? A: Well, I don’t know if they did that.”); see also SUMF ¶¶ 229.
                                                 19
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 27 of 43


       A. Yes, that is true. It is different. It is different to what happened in 2015.”80

       Mayagüez cannot point to any evidence in the record that the way the Currency Trades

worked was misrepresented, and it is undisputed that Mayagüez was aware that its payment

obligations were tied to the future USD/COP exchange rate. In a similar case, the Colombian

Supreme Court declined to find culpable conduct where the plaintiff alleged that a commercial

project developed by defendants contained fewer parking spots than anticipated in defendants’

advertising materials.81 The court held that the “architecture plan was subject to changes” such

that “the actual amount [of parking spots] to be built could only be known when the final plan

was approved” and plaintiffs “had known that the project was subject to modifications.”82 For

the same reason, there is no genuine dispute that the Currency Trades could not and did not

predict Mayagüez’s payment obligations under the Currency Trades based on future, unknown

changes to the COP/USD rate, and accordingly Mayagüez cannot establish culpable conduct

under Colombian law. Similarly, under New York law, “promises of future output”, which

were not present representations of existing fact, are just the sort of representations about future

events that cannot support a claim for negligent misrepresentation (or, even more so, fraudulent

misrepresentation).83

               2. There is No Evidence That Defendants Omitted Material Information –
                  Or Information Of Any Kind – Concerning The Currency Trades

       There is likewise no genuine dispute that Defendants did not omit any material facts.



80
   DEX 4 (“Alarcon Dep. Tr.”) 65:4-69:3; see also id. at 149:25-150:11 (“Q. Do you believe
that Mr. Polania ever lied to you? . . . A. If I go back to the presentation of the July of 2014 of
the product that he proposed, the totality, looking at everything in general, I do think that it
was a fraud because at no time did the expectations or the estimations indicate us that we were
going to lose $67 million or whatever it was.”); see also SUMF ¶¶ 229.
81
   Dunogué Decl. Ex. 07 ¶ 87 (describing Supreme Court of Justice. Judge Rapporteur Manuel
Ardila Velasquez. December 13, 2001. File. 6775, (“Dunogué Decl. Ex. 01”) which held that
defendant was not liable under Article 863).
82
   Dunogué Decl. Ex. 01 (cited in Dunogué Decl. Ex. 7 ¶¶ 78, 87) at 16-17.
83
   Hydro Inv'rs., 227 F.3d at 21 (2d Cir. 2000); Sheth v. New York Life Ins. Co., 709 N.Y.S.2d
74, 75 (App. Div. 2000).
                                                  20
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 28 of 43


To the extent Mayagüez claims that Defendants failed to disclose that Mayagüez could have

what it hyperbolically calls “unlimited losses” – i.e., that the Currency Trades did not “cap”

Mayagüez’s payments – Mayagüez’s 30(b)(6) deponent eviscerated that claim by testifying that

he knew there was typically no “cap” on such payments in the Company’s hedges.84

Mayagüez’s CEO similarly testified that “[t]he difference between the strike and the exchange

rate[,] either up or down[,] would always be the amount that Mayagüez would have to pay in

any simple future [i.e., any plain vanilla forward,]”85 without any cap on the resulting payment

obligations.

       Further, there is no dispute that Mayagüez received substantial information about the

limited compensation structure, including numerous presentations before entering into the First

Currency Trade that included a table (reproduced supra at P.6) showing how Mayagüez’s

payment obligations would grow as the USD appreciated and indicating that such payments

would work in the same way as in a traditional/plain vanilla forward (i.e., as Mayagüez was

well aware, without a cap).86 By the time Mayagüez entered into the Second and Third Currency

Trades, it could draw on its years of experience with hedges, and with the changing MTM of

the First Currency Trade.87

       Similarly, there is no dispute that Mayagüez received Trade Confirmations88 and

presentations89 fully and accurately disclosing that Mayagüez’s proceeds from the Currency

Trades were capped. Mayagüez understood this, and as the COP/USD exchange rate moved in

its favor, Mayagüez amended the First Currency Trade to increase the compensation cap and



84
   See DEX 4 at 55:11-13 (“Yes, in the plain vanilla transaction, . . . there was no limit either
to pay or to receive.”); see also DEX 5 at 128:21-24 (“Q. In plain vanilla forwards, is there a
cap on potential losses? A. There are no caps in plain vanilla.”); see also SUMF ¶¶ 29-30.
85
   DEX 3 (“Iragorri Dep. Tr.”) 67:10-13; see also SUMF ¶ 27.
86
   See, e.g., DEX 45 at 4347; DEX 20 at 9176; SUMF ¶ 70.
87
   See, e.g., DEX 90; 95; see also SUMF ¶¶ 155, 160.
88
   SUMF ¶¶ 89, 93, 95, 98-100, 103-05, 108.
89
   SUMF ¶¶ 61-64, 77-80.
                                               21
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 29 of 43


eventually received this increased maximum compensation, as the trade terminated when the

cap was reached.90 Accordingly, at the time of entering into the Second and Third Currency

Trades, Mayagüez had extensive, first-hand experience with the operation of the cap and cannot

claim it was deceived as to the operation of its terms. The cap was not hidden, but rather a fully

disclosed basic element of the bargain. Mayagüez sought a strike price more favorable than the

market rate, and Citibank Colombia offered to provide this if a cap were put in place. 91

Mayagüez focused on the strike price and knowingly accepted these limited compensation

terms: Mayagüez’s CEO first claimed in his deposition that he was unaware of the terms of the

trade, but when confronted with contemporaneous emails that clearly communicated the terms,

he responded that “what was important for me at the moment was [the] strike” – and he

apparently disregarded the rest.92

       There is simply no evidence of the withheld information or that Mayagüez did not

understand the Currency Trades. Indeed, even though not required of Defendants, document

after document shows steps Defendants took to confirm that the trades were accurately and

sufficiently discussed with and approved by Mayagüez, including senior and knowledgeable

individuals such as its CFO and CEO.93

           B. Mayagüez Cannot Show “Legitimate Ignorance” Regarding The Risks Or
              Issues Of Which It Complains Or Justifiable Reliance On Alleged
              Statements By Defendants

       The record is equally clear that Mayagüez’s key allegations about itself – including that

it was unable to assess the Currency Trades and could only rely on Defendants as financial

advisors – were false. Mayagüez cannot show that it (i) lacked the ability or opportunity to

assess and understand, and was “legitimately ignorant” of, the risks of the Currency Trades or



90
   SUMF ¶¶ 96-97, 127-129.
91
   SUMF ¶¶ 64, 78, 85, 137, 140-141.
92
   SUMF ¶¶ 141, 144, including DEX 03 at 97:12-16.
93
   See SUMF ¶¶ 68-70, 74-87, 99-101, 103-108, 130-148, 179, 183.
                                           22
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 30 of 43


(ii) justifiably relied on any alleged false or misleading statements in deciding to enter into the

Currency Trades.

       To determine liability for Articles 2341 or 863 under Colombian law, “[a]ll of the

relevant circumstances should be considered,” including the “knowledge, expertise, experience

and the technical capacity for evaluation” of the plaintiff and the defendant.94 A plaintiff cannot

succeed unless its “ignorance [is] legitimate so that they cannot ignore information that they

should know or would have known if they had behaved diligently.”95 Similarly, under New

York law, an alleged omission is not actionable if plaintiff could have acquired allegedly

withheld information via “the exercise of ordinary intelligence.”96

               1. Mayagüez Had Extensive Experience with Non-Plain Vanilla Hedges

       One of Mayagüez’s primary contentions is that it never entered into currency hedges

other than “plain vanilla” trades.97 Discovery exposed this as false. Internal Mayagüez

documents confirm that it had repeatedly entered into “exotic”/non-“plain vanilla” currency

hedges, in addition to over a dozen plain vanilla forwards with at least five financial institutions,

since 2008.98 Indeed, Mayagüez entered into the 2008 Transaction with Citibank that shared


94
   See Dunogué Decl. Ex. 8, 85:16-19 (scope of the duty of information is determined in part
by the plaintiff’s ability to self-inform, which depends on “their personal skills, their level of
emotional and educational development, their level of experience in life, technical or
professional background”); see also Dunogué Decl. Ex. 5 ¶¶ 81, 83 (to assess plaintiff’s claim
that “it was deceived by its counterparty, a relevant issue under Colombian law is whether the
plaintiff is familiar with or was capable of being familiar with the transactions and accepted to
assume the risks of the contract offered to it. Indeed, whether liability derived from the good
faith duty to inform arises depends in part on whether the plaintiff had or should have had
knowledge of the transactions offered and the risks that the same might generate”).
95
   See Dunogué Decl. Ex. 8, 93:7-94:8.
96
   Jana L. v. W 129th St. Realty Corp., 22 A.D.3d 274, 278 (N.Y. App. Div. 2005) (reversing
denial of summary judgment); see also Dodona I LLC v. Goldman Sachs & Co., 132 F. Supp.
3d 505, 516 (S.D.N.Y. 2015) (granting summary judgment as to common law fraudulent
concealment claims and rejecting “conclusory allegations” that “defendants had ‘asymmetric
information’” because after “discovery, [p]laintiffs must point to [] evidence showing
[d]efendants possessed and failed to disclose some material, non-public information”).
97
   See, e.g., FAC ¶¶ 36-43.
98
   See SUMF ¶¶ 36-39.
                                                 23
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 31 of 43


many of the same features as the Currency Trades, including that it was structured as a series of

monthly put and call option pairs and contained a compensation cap that applied only in the

event of a USD depreciation.99 Mayagüez



                                                                         .100 Accordingly, the

record is clear that Mayagüez had years of experience with comparable hedges.

               2. Mayagüez Was Fully Aware Of The Amount Hedged By The Second
                  And Third Currency Trades And That Its Ethanol Sales Were Taken
                  Into Account In Connection With Those Trades

       Mayagüez’s contention that it was somehow misled into hedging a larger amount, and

for a longer duration as part of the Second Currency Trade101 is also foreclosed by the record.

Mayagüez chose the Second Currency Trade among alternatives with full disclosure that higher

strike prices required increased notional amounts and duration of the trades.102 Mayagüez also

understood that the larger notional amounts took into account its USD exposure related to its

ethanol sales, as Alarcon testified:

       Q. Mayagüez understood and there was no hiding of the fact that ethanol sales were
       being included as part of the revenues to be hedged in connection with the second
       currency trade? A. We understood it.103

Mayagüez sold ethanol since at least 2007.104



99
   SUMF ¶¶ 36-39; see Mayagüez’s July 25, 2018 Letter to the Court (Dkt. No. 55) at 2-3
(stating that Defendants sold a “limited compensation collar” product to Mayagüez in 2008).
100
    See DEX 06 at (tab 2011) and (tab 2013) (natively produced attachment to DEX 6 at
9277); see also SUMF ¶¶ 40-42; DEX 19 at ¶ 65.
101
    See FAC ¶¶ 40, 113; see also SUMF ¶¶ 98-99, 130-48.
102
    See, e.g., DEX 86 at 7861; DEX 3 at 97:12-16 (“[w]hat was important for me at the
moment was [the] strike”); DEX 42 at 178378-81; DEX 05 at 61:17-62:6; see also SUMF ¶¶
74, 138-39,141.
103
    See DEX 05 at 114:14-20; see also DEX 74 at 443250 (Feb. 12, 2014 Citibank Colombia
internal call report noting that discussion about revising Mayagüez’s exposure to include
ethanol); DEX 59 AT 10246 (December 2014 Off-Market Letter) and DEX 83 AT 27619
(January 2015 Off-Market Letter) (both noting that Mayagüez was restructuring trade to
hedge its “sugar exports production and ethanol sales”); SUMF ¶¶ 135, 175, 186.
104
    See DEX 4 at 27:9-15 (Mayagüez has earned revenue from sale of ethanol since 2007).
                                                24
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 32 of 43


                                                 .105 The prices for Mayagüez’s ethanol sales

were based on a public formula set by the Colombian government and were tied to the USD

exchange rate.106 Citibank Colombia discussed Mayagüez’s ethanol sales and related USD

exposure, including through a spreadsheet that expressly set forth the government’s formula for

the price of ethanol, and provided a sensitivity analysis that allowed Mayagüez to see how

changes in the COP/USD rate could affect its expected ethanol revenues when all other inputs

remained the same.107 There is no dispute that Mayagüez could not have conducted its business

without being aware of the factors that would impact the price of ethanol, one of its major

products, and had years of actual experience concerning the relationship between ethanol prices

and the USD/COP rate. Indeed, Mayagüez’s 30(b)(6) witness and its CEO
                                                                              108
                                                                                    Accordingly,

there is no genuine dispute that Mayagüez was aware that, and was not “legitimately ignorant”

that, its ethanol sales were exposed to USD/COP exchange rate risks, and that the Second

Currency Trade hedged part of this exposure.

       There can be no liability under Colombian Law – or New York law concerning alleged

fraud or negligent misrepresentations – where, as here, the plaintiff knew or reasonably could

have known the very information it alleges was omitted or misrepresented.109 That alone must


105
    See DEX 76 (tab “PYG MAM” in original), (tab “P&L MO-MO” in English translation);
see also SUMF ¶¶ 2, 46, 121.
106
    DEX 17 at ¶ 88 (formula from Colombian government determines the price of ethanol in
which “[t]he COP/USD exchange rate appears as one of the inputs”).
107
    See DEX 30 at 9995; DEX 30 at 9998; see also SUMF ¶¶ 132-34.
108
    See, e.g., DEX 04 at 45:11-18; 103:15-104:7; DEX 03 at 35:22-36:18 (describing the
factors that impact Colombian ethanol prices including the USD/COP exchange rate); see
also, e.g., DEX 32 at 14370
                                             DEX 1 at 28185 (

                                       see also SUMF ¶¶ 23, 48, 49, 135.
109
   Dunogué Decl. Ex. 8, 93:7-94:8 (“the pre-contractual duty to inform implies that one of the
parties has information unbeknownst to the other party” and the “parties’ ignorance must be
legitimate so that they cannot ignore information they should know or would have known if
they had behaved diligently”); see, e.g., Dunogué Decl. Ex. 1 (cited in Dunogué Decl. Ex. 7 ¶
                                               25
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 33 of 43


end this case.

                 3. Unbeknownst to Defendants, Mayagüez Failed To Self-Inform As
                    Required By Colombian Law

       To the extent Mayagüez contends it was not sufficiently aware of the terms and risks of

the Currency Trades prior to entering into them, this was due to its own failure to inform itself

and conduct normal diligence, contrary to its signed representations. For years, Mayagüez

ignored the recommendations of its external auditor to develop a written policy and a process

to evaluate currency hedging. According to a 2016 presentation to Mayagüez’s board, but

unbeknownst to Defendants and Citibank Colombia, PwC identified in 2011 that Mayagüez

lacked formally documented policies or procedures for executing hedges, and recommended

that Mayagüez put in place such policies and procedures “that the company must take into

account when performing hedging transactions, which must be aligned with the strategies

defined by administration and approved by the Board of Directors.”110

       Again in 2012, PwC reviewed Mayagüez’s “hedging strategy procedures,” and

identified deficiencies to Mayagüez including the “lack of guidelines for the early liquidation

of positions” that “prevents the Company from making objective decisions to reduce its

exposure to adverse market movements and protect the Company’s assets.”111                  PwC

recommended defining such guidelines “consistent with the risk appetite of the Board of




78) at 16-17, 23 (where plaintiff claimed defendant omitted information about number of
parking spots in a commercial project, Court held defendant was not liable under Article 863
because it did not know how many spots there would be and plaintiff was aware that the
number of spots was subject to change based on project’s design). Similarly, under New York
law, claims for misrepresentation or fraudulent concealment are not viable where “all of the
information that plaintiffs now claim was concealed from them was either a matter of public
record, was not pursued by plaintiffs, or was disclosed, at least in part.” Aaron Ferer and
Sons Ltd. v. Chase Manhattan Bank, Nat’l Ass’n, 731 F.2d 112, 123 (2d. Cir. 1984).
110
    See DEX 08 at 13141; see also SUMF ¶ 220.
111
    See DEX 08 at 13145; see also SUMF ¶ 222.
                                               26
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 34 of 43


Directors.”112 By 2016, Mayagüez still had not implemented PwC’s recommendations.113

Mayagüez’s CEO admitted this, testifying that, when it represented to Citibank that it was

“entering into the transaction consistent with Mayagüez’s internal policies,” Mayagüez “didn’t

have a policy for hedges or for futures.”114

       Similarly, Mayagüez’s 30(b)(6) witness testified that Mayagüez did not analyze the

Trade Confirmations describing the terms and structures of the Currency Trades: “We were

simply looking at the strikes that we had agreed upon, but the rest of the [trade confirmation],

we didn’t understand it. We didn’t analyze it.”115 Defendants cannot be held liable – under

either Colombian or New York law – for Mayagüez’s choice to enter into the Currency Trades

because of the strike prices offered, but without considering the equally well disclosed other

terms of the transaction, and the risk of an unexpected devaluation of the COP.116

               4. Mayagüez Expressly Represented It Was Not Relying on Citibank or
                  Citibank Colombia

       Under New York law, claims for fraudulent misrepresentation can succeed only if

plaintiffs show they reasonably relied on defendant’s misrepresentation.117 Here there is no

dispute that Mayagüez explicitly represented in both the ISDA and the Colombian ISDA that it




112
    See DEX 08 at 13145; see also SUMF ¶ 222.
113
    See DEX 08 at 13138, 13140.
114
    DEX 03 at 73:9-17; see DEX 04 at 22:16-22 (“Q. From the period of time of 2012 through
2016, can you describe any policies or procedures that Mayagüez had in connection with
currency hedging transactions? A. There were no policies.”); SUMF ¶ 221.
115
    See DEX 04 at Tr., 82:13-16; see also SUMF ¶¶ 224. Mayagüez also did not use financial
advisors until close to nearly a year after entering into the Third Currency Trade. See DEX 04
at 57:6-11; see also SUMF ¶ 224.
116
    The Colombian Supreme Court has declined to find liability under Article 863 where
plaintiffs were aware that the terms of a project were subject to change, thus precluding them
from claiming defendants made a misrepresentation. Dunogué Decl. Ex. 01 (Colombian
Supreme Court of Justice 2001) at 16-17, 23.
117
    See Legal Standard - Section III supra; see also, e.g., Republic Nat’l Bank v. Hales, 75 F.
Supp. 2d 300, 316-17 (S.D.N.Y. 1999) (granting summary judgment where non-reliance
provision in ISDA-governed swap agreement precluded finding of reasonable reliance).
                                                 27
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 35 of 43


was not relying on Citibank or Citibank Colombia when entering into the transactions.118 In

addition, Mayagüez also expressly represented, in numerous executed letters, that Mayagüez

“is not relying on the advice of Citibank . . . [and] will determine, without reliance upon Citi,

the economic risks and merits . . .of the Transactions and that it will be capable of assuming

such risk.”119    Mayagüez’s CEO testified that these representations were accurate.120

Accordingly, there is no genuine dispute that Mayagüez did not and could not justifiably rely

on Defendants in connection with the Currency Trades.

       These undisputed facts separately entitle Defendants to summary judgment as to

Mayagüez’s inducement and misrepresentation claims under New York law. As Your Honor

recently held in Kirschner, Mayagüez “cannot overcome disclaimers in these agreements that

are fatal to its negligent misrepresentation claim,” as these agreements “contain a clear

disclaimer of the ‘special relationship’ and ‘duty of care’ alleged by” Mayagüez.121 Similarly,

the non-reliance provisions doom Mayagüez’s fraud claims.122

       Colombian law likewise allows parties to contractually accept the inherent risks of a

contract. 123 A party’s express representations and disclaimers are necessarily another part of




118
    See SUMF ¶¶ 12-21.
119
    DEX 72 (February 2014 Letter) at 7909; DEX 59 at 10246 (December 2014 Letter); DEX
83 at 27619 (January 2015 Letter); see also SUMF ¶¶ 101, 119-20, 186.
120
    DEX 03 at 74:4-25; see also SUMF ¶ 179.
121
    2020 WL 2614765 at *13.
122
    See, e.g., JPMorgan Chase Bank, 920 N.Y.S.2d at 9 (ISDA Agreement and transaction
confirmations containing non-reliance provisions bar claims of fraud and negligent
misrepresentation); see also Negrete v. Citibank, N.A., 187 F. Supp. 3d 454, 466 (S.D.N.Y.
2016) (granting motion to dismiss in part because the ISDA Agreement explicitly disclaimed
reliance on investment advice), aff’d by 759 F. App’x 42, 48 (2d Cir. 2019) (Gardephe, J);
Grumman Allied Indus. Inc. v. Rohr Indus., Inc., 748 F.2d 729, 737 (2d Cir. 1984) (granting
summary judgment because plaintiff contractually disclaimed reliance on representations at
issue and enjoyed absolute access to all information necessary to confirm representations);
Hales, 75 F. Supp. 2d at 316-17 (S.D.N.Y. 1999) (granting summary judgment where non-
reliance provision in ISDA-governed swap agreement precluded finding of reasonable
reliance).
123
    See Dunogué Decl. Ex. 5 ¶ 82, Munoz Decl. ¶ 24.
                                               28
       Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 36 of 43


the “acts and circumstances” to be considered under Colombian law: if a plaintiff affirms that

he has analyzed the transactions, accepts the risks that such transactions entail, and is not relying

on the defendant, then there can be no basis to find that the defendant acted with “culpa” by

allegedly not providing enough information to the plaintiff. 124

      II.      MAYAGÜEZ DOES NOT HAVE A VIABLE PROMISSORY ESTOPPEL OR
               UNJUST ENRICHMENT CLAIM

               A. Defendants Did Not Make Any False or Unfulfilled Promises To Mayagüez

            Mayagüez’s New York law promissory estoppel claim also fails125 as do its Colombian

law claims to the extent they are based on an alleged unfulfilled promise to amend the Third

Currency Trade to increase the strike price if the exchange rate exceeded 2,600, or otherwise

before the second tranche took effect.126 First, “[i]n New York, the doctrine of promissory

estoppel . . . [is] a rule applicable only in the absence of an enforceable contract” – and it is

undisputed that the parties entered into enforceable contracts here. Cyberchron Corp. v.

Calldata Sys. Dev., Inc., 831 F. Supp. 94, 112 (E.D.N.Y. 1993), aff’d in relevant part, 47 F.3d

39, 45 (2d Cir. 1995).127 Accordingly, Mayagüez’s promissory estoppel claim must fail as a

matter of law. Even if Mayagüez could establish that the written agreements between the parties

were unenforceable (which it cannot), discovery revealed no support for Mayagüez’s allegation

of a promise, and Mayagüez’s Treasurer confirmed that no such promise existed.128



124
    See Deposition of Javier Tamayo, Feb. 19, 2020 (“Dunogué Decl. Ex. 6”) 197:19 – 198:9.
125
    For promissory estoppel, Mayagüez must show: (1) a promise that is sufficiently clear and
unambiguous; (2) reasonable and foreseeable reliance on the promise; and (3) injury caused
by the reliance.” Bader v. Wells Fargo Home Mortg. Inc., 773 F. Supp. 2d 397, 414-15
(S.D.N.Y. 2011); Steele v. Delverde S.R.L., 662 N.Y.S.2d 30, 31 (App. Div. 1997).
126
    See FAC ¶ 140; see also SUMF ¶¶ 236.
127
    See also, e.g., Foxley v. Sotheby’s Inc., 893 F. Supp. 1224, 1234 (S.D.N.Y. 1995)
(dismissing promissory estoppel claim because “an express contract was in effect”).
128
    See DEX 05 at 133:25-134:13 (“Q. [I]n connection with the January 2015 trade . . . did
anyone at Citi promise Mayagüez that Citi would increase the strike price of that January 2015
trade or restructuring above the exchange rate, if the exchange rate exceeded 2,600 pesos . . .?
A. There were no promises, and the restructuring of 2015 was made by Citibank based on
some conversations that we had with them.”); see also SUMF ¶¶ 236.
                                                 29
       Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 37 of 43


Accordingly, this supposed promise, disavowed by Mayagüez’s own witnesses, cannot form the

basis of any claim. 129

                B. Mayagüez Cannot Show Unjust Enrichment

             Mayagüez cannot succeed on its unjust enrichment claim either.130 The law clearly

precludes recovery for unjust enrichment “where the parties have entered into a contract that

governs the subject matter.”131 It is undisputed that the parties entered into such a contract, and

therefore the unjust enrichment claim fails as a matter of law.132 Further, even if Mayagüez

could establish that the agreements were not valid (which it cannot), there is no genuine dispute

that Defendants were not unjustly enriched against equity and good conscience.133

      III.      THERE IS NO EVIDENCE THAT WOULD ESTABLISH LIABILITY AS TO
                CITIGROUP, INC. FOR ANY OF MAYAGÜEZ’S CLAIMS

             Mayagüez’s theory of liability against Citigroup, Citibank’s corporate parent, is that

Citigroup “conducts business both directly and through Citigroup’s subsidiaries, including

Citibank and Citibank Colombia” (see FAC ¶ 51), and that employees of Citibank and Citibank

Colombia are employees of Citigroup or ultimately reported to employees who reported to

officers of Citigroup (see id. ¶¶ 51-61). The record is clear, however, that Citigroup did not

engage in or direct conduct related to the Currency Trades, and that Mayagüez has not shown

and cannot show that the corporate veil should be pierced here.134


129
    See FAC ¶¶ 158-61, 199-201 (First and Fifth Causes of Action based on allegations that
Defendants “made false promises”); ¶¶ 241, 244-47 (Eighth Cause of Action based on
allegations that Defendants made promises in bad faith and “fraudulent promis[es]”).
130
    Mayagüez would need to establish that: (1) Defendants were enriched, (2) at Mayagüez’s
expense, and (3) equity and good conscience mitigate against permitting Defendants to retain
what Mayagüez is seeking to recover. Dodona I, LLC, 132 F. Supp. 3d at 512.
131
    See Cox v. NAP Constr. Co., 891 N.E.2d 271, 278 (N.Y. 2008); CDO Plus Master Fund v.
Wachovia Bank, N.A., No. 07 Civ. 11078, 2009 WL 2033048, at *8 (S.D.N.Y. July 13, 2009);
Payday Advance Plus, Inc. v. Findwhat.com, Inc., 478 F. Supp. 2d 496, 504 (S.D.N.Y. 2007).
132
    See SUMF ¶¶ 12-21, 89-93, 98-100, 103-106. .
133
    See Kaplan v. Reed Smith LLP, 919 F.3d 154, 160 (2d Cir. 2019).
134
    “It is well-settled that New York’s choice-of-law rules dictate that ‘the law of the state of
incorporation determines when the corporate form will be disregarded.’” Martin Hilti Family
                                               30
     Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 38 of 43


       As an initial matter, the record is clear the non-party Citibank Colombia and Citibank

employees engaged in negotiating, structuring and communicating with Mayagüez concerning

the Currency Trades were not employees of Citigroup135 – and, even if there were any overlap

in any employees between these entities, this would not suffice to hold Citigroup liable.136

       Under New York law, a party seeking to pierce the corporate veil must show that: “(1)

the owners exercised complete domination of the corporation in respect to the transaction

attacked; and (2) that such domination was used to commit a fraud or wrong against the plaintiff

which resulted in plaintiff's injury.”137 Delaware law also requires that, to pierce the corporate

veil, the plaintiff meet “a two-pronged test focusing on (1) whether the [two entities] in question

operated as a single economic entity, and (2) whether there was an overall element of injustice

or unfairness.” Martin Hilti 137 F. Supp. 3d at 492 (Gardephe, J.). This includes “[t]he central

question” of whether the parent corporation “has complete domination and control over the

entity such that it no longer ha[s] legal or independent significance of [its] own” and that “the



Tr. v. Knoedler Gallery, LLC, 137 F. Supp. 3d 430, 492 n.8 (Gardephe, J.) (S.D.N.Y. 2015).
Citibank is chartered under the laws of the United States, and maintains a principal place of
business in New York. See Defendants’ Answer (Dkt. No. 47) ¶ 14. Citigroup is incorporated
in Delaware. See id. ¶ 13.
135
    See SUMF ¶ 11.
136
    See, e.g., U.S. v. Bestfoods, 524 U.S. 51, 61 (1998) (“It is a general principle of corporate
law deeply ingrained in our economic and legal systems that a parent corporation . . . is not
liable for the acts of its subsidiaries.”); Dollman v. Mast Indust., 731 F. Supp. 2d 328, 341
(S.D.N.Y. 2010) (dismissing parent company at summary judgment where plaintiff’s
complaint “concerned [its] subsidiary” exclusively and “there is no obvious need to pierce the
corporate veil”); Capmark Fin. Grp. Inc. v. Goldman Sachs Credit Partners L.P., 491 B.R.
335, 350 (S.D.N.Y. 2013) (“That a subsidiary shares employees, officers, and directors with a
parent does not permit the corporate form to be disregarded.”); see also Mendez v. JFK
Medical Ctr. Ltd. P’Ship, No. 17-80866-CIV, 2018 WL 5045210, at *4 (S.D. Fla. Sept. 4,
2018) (dismissing parent company at summary judgment and holding that “overlap in the
board of directors and the officers of its subsidiaries does not destroy [its] legal identity”).
Similarly, under Colombian law – if it were to apply to this issue – corporations are not extra-
contractually liable for actions or omissions by employees of their affiliates or subsidiaries.
Dunogué Decl. Ex. 5 ¶ 60.
137
    Matter of Morris v. New York State Dep't of Taxation and Fin., 82 N.Y.2d 135, 141(1993);
see also Miller v. Citicorp, No. 95 Civ. 9728, 1997 WL 96569, at *9 (S.D.N.Y. Mar. 4, 1997)
(subsidiary must be “mere dummy” of parent to pierce veil).
                                                 31
       Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 39 of 43


corporation effectively must exist as a sham or shell through which the parent company

perpetrates injustice.” Id. at 492 (internal quotation marks omitted). Thus, in determining

whether to pierce the corporate veil under either New York or Delaware law, courts consider

allegations of disregarding corporate formalities, siphoning or intermingling of funds,

inadequate capitalization, or that the corporation is a mere sham, among others.138

            There is no genuine dispute that the record shows no indication whatsoever that

Citigroup exercised complete domination and control over Citibank, generally and with respect

to the Currency Trades, and used such domination to commit a wrong against Mayagüez or

perpetuate an injustice. Citigroup is entitled to summary judgment.

      IV.      MAYAGÜEZ CANNOT SHOW                      THAT      DEFENDANTS         CAUSED
               RECOVERABLE DAMAGES

               A. Defendants Did Not Cause Mayagüez’s Purported Losses

            There is no genuine dispute that Defendants did not cause Mayagüez’s purported losses

and, accordingly, Mayagüez’s claims fail for this additional reason under both Colombian139

and New York law.140 Under the First Currency Trade, Mayagüez received payments, up to the

maximum amount, so it had no losses.141 Mayagüez entered into the Second Currency Trade,

under which it ultimately made payments when the USD dramatically appreciated, contrary to



138
    In re Digital Music Antitrust Litig., 812 F. Supp. 2d 390, 418 (S.D.N.Y. 2011); accord
Fantazia Int'l Corp. v. CPL Furs New York, Inc., 67 A.D.3d 511, 512 (N.Y. App. Div. 2009).
139
    See Dunogué Decl. Ex. 7 ¶¶ 51, 54, 64 (Colombian civil liability requires the “existence of
a necessary and efficient cause and effect relationship between the conduct and the damage”);
Dunogué Decl. Ex. 5 ¶¶ 51-53, 64 (Under Article 2341 and Article 863 plaintiff must prove its
damages were caused by defendant’s acts or omissions); Dunogué Decl. Ex. 4 (cited in
Dunogué Decl. Ex. 5 ¶¶ 89, 92, 95) at 5.1 (explaining that it is necessary to evaluate other
coincident and subsequent actions, including those of the plaintiff, that caused the damage to
determine if the defendant’s liability should be reduced or eliminated).
140
    See Ryder Energy Distribution Corp. v. Merrill Lynch Commodities, Inc., 684 F. Supp. 27,
28 (S.D.N.Y. 1988) (granting summary judgment because plaintiffs failed to establish the
“indispensable link between a defendant’s conduct and a plaintiff’s injury”); Laub v. Faessel,
297 A.D.2d 28, 31-32 (N.Y. App. Div. 2002) (under New York law, plaintiff must show that
“misrepresentations directly caused the loss about which plaintiff complains”.
141
    See SUMF ¶ 97.
                                                 32
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 40 of 43


market expectations.142 Subsequently, in 2015, even after having to make significant payments

under the Second Currency Trade, Mayagüez entered into the Third Currency Trade with similar

terms as the Second Currency Trade and, likewise, had to make payments to Defendants because

of the USD’s continued and unprecedented appreciation.143 Mayagüez’s 30(b)(6) witness

recognized that its “payments were directly and arithmetically related to the USD’s significant

appreciation,” summing up the cause of Mayagüez’s losses succinctly: “Q. Was the negative

mark-to-market of $32.9 million caused by the devaluation of the Colombian peso? A. That is

correct.”144 Indeed, Mayagüez’s CEO explained to the Board that the large MTM of the Third

Currency Trade was due to the “unexpected devaluation” of the COP. 145

       Accordingly, Mayagüez cannot dispute that the alleged misstatements or omissions from

presentations and communications from 2012 and early 2013 did not cause a recoverable loss.

“When the plaintiffs’ loss coincides with a market wide phenomenon causing comparable losses

to other investors, the prospect that the plaintiff’s loss was caused by the fraud decreases and a

plaintiff’s claim fails when it has not proven that its loss was caused by the alleged

misstatements as opposed to intervening events.”146 Loss causation (or “adequate causality”

under Colombian law147) “exists to prevent opportunistic investors from getting their money




142
    See SUMF ¶¶ 76, 102, 162, 205.
143
    See SUMF ¶¶ 188-89, 194, 197, 205.
144
    DEX 04 at 148:11-14; see also SUMF ¶¶ 76, 150-54, 237.
145
    DEX 130 at 103:16-104:13; see SUMF ¶ 207.
146
    Basis PAC-Rim Opportunity Fund (Master) v. TCW Asset Mgmt. Co., 149 A.D.3d 146,
149-50 (N.Y. App. Div. 2017); accord Lentell v. Merrill Lynch & Co., 396 F.3d 161, 174 (2d
Cir. 2005); see also, e.g., Stichting Pensioenfonds ABP v. Credit Suisse Grp. AG, 966
N.Y.S.2d 349, at 11 (Sup. Ct. 2012) (“When a market-wide phenomenon (such as the
financial crisis of 2007-2008) may have caused the loss, the plaintiff must … show that its
loss was caused by the alleged misstatements as opposed to intervening events.”); see also
Dunogué Decl. Ex. 4 (cited in Dunogué Decl. Ex. 5 ¶¶ 89, 92, 95) at 5.1 (noting that the
defendant’s liability can be reduced or eliminated if a coincident or subsequent action caused
the damage, including the plaintiff’s action).
147
    Dunogué Decl. Ex. 5 ¶¶ 52, 53.
                                                33
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 41 of 43


back when their losses had nothing to do with the subject representations.” 148 Mayagüez cannot

make Defendants pay for the unexpected devaluation of the USD.

           B. Even If Mayagüez Could Prove That Defendants Caused Its Losses,
              Mayagüez Would Only Be Entitled To Actual Losses As To Which It Offers
              No Proof

       Even if Mayagüez could point to a genuine dispute as to liability and causation (which

it cannot), the unrebutted expert evidence and applicable law establish that Mayagüez is not

entitled to the purported damages it seeks, i.e., a full return of all payments it made under the

Currency Trades.149 Under both New York and Colombian law, recovery for the damages

suffered under the Currency Trades is limited to “actual losses” suffered by a plaintiff. 150

       As Defendants’ expert economist (who has spent decades teaching and consulting on

currency hedging) explained, Mayagüez’s payments under the Currency Trades were, in

economic substance, payments for insurance protection against the potential appreciation of the

COP relative to the USD.151 It is axiomatic that “hedging performs an insurance function.”

Leist v. Simplot, 638 F.2d 283, 288 (2d Cir. 1980).152 Accordingly, in determining what

constitutes “actual losses” here, “it would be inequitable to permit the insured [plaintiff] to have

received the benefit of past coverage without cost and to permit the insurer [defendant] no




148
    Loreley Fin. (Jersey) No. 4 Ltd. v. UBS Ltd., 42 Misc. 3d 858, 864 (Sup. Ct. 2013),
modified on other grounds, 123 A.D.3d 413 (N.Y. App. Div. 2014); see also Dunogué Decl.
Ex. 03 (Colombian Supreme Court of Justice 2018) at 26-27 (an “event or occurrence outside
the sphere of activity or control” of the defendant breaks the causal link and exempts the
defendant from liability).
149
    FAC ¶ 268.
150
    See, e.g., Dunogué Decl. Ex. 08, 142:4-12 (“alleged damages have to be proven”); see also
Dunogué Decl. Ex. 5 ¶¶ 47-48; Dunogué Decl. Ex. 02 (cited in Dunogué Decl. Ex. 7 ¶¶ 116-
18) at 19-23 (plaintiff must prove non-hypothetical damages); Kumiva Grp., LLC v. Garda
USA Inc., 146 A.D.3d 504, 506 (N.Y. App. Div. 2017); Negrete, 187 F. Supp. 3d at 467-68
(granting motion to dismiss and limiting damages to actual pecuniary losses).
151
    See, e.g., DEX 19 at ¶ 22; see also SUMF ¶ 22.
152
    The Court also recognized that speculative investors – not just hedgers – may also engage
in derivatives. Leist, 638 F.2d at 288. Mayagüez maintains, however, that it is a hedger, not a
speculator, and used currency trades to hedge (i.e., seek to insure against) risk.
                                                34
      Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 42 of 43


compensation for the time it was at risk.”153

       Mayagüez’s purported damages expert confirmed that he offered no opinion on what

would constitute “actual losses” under the Currency Trades.154 Mayagüez’s economist agreed

with Defendants’ expert that hedging transactions do not cause a loss simply because the risk

insured against (here, a USD depreciation) does not occur; instead, the alleged injury must be

evaluated ex ante, at the time of the transaction.155 Accordingly, even if Mayagüez could

establish it is entitled to damages, which it cannot, its recovery must be limited to, at most, the

actual losses it incurred when entering into the Currency Trades – as to which it makes no

allegation and does not purport to offer any proof.156

                                        CONCLUSION

       Defendants respectfully request that the Court grant summary judgment in their favor

on all claims.




153
    Dornberger v. Metro. Life Ins. Co., 961 F. Supp. 506, 539 (S.D.N.Y. 1997). Further, even
apart from the insurance context, it is settled law that a plaintiff cannot be put into a better
position than it would have been absent the alleged fraud. See, e.g., Rolf v. Blyth, Eastman
Dillon & Co., 570 F.2d 38, 50 n.22 (2d Cir. 1978).
154
    DEX 31 at 68:23-69:3 (“Q. So you’re not offering an opinion in this case as to what
constitutes, if anything, the plaintiff’s actual pecuniary loss? A. No.”).
155
    DEX 131 at 88:4-12 (“When one looks at financial risk and hedging, one has to decide the
properties of a contract in order to decide whether it’s a proper financial instrument for [one’s]
particular risk. And this analysis has to be done, of course, ex ante because you don’t know
what type of risk will happen in the future in the sense you can’t forecast the point of risk
management that is all about the unanticipated events.”).
156




                                                35
    Case 1:16-cv-06788-PGG-JLC Document 150 Filed 09/22/20 Page 43 of 43


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                                    Respectfully submitted,


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                                   36
